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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                       FT. LAUDERDALE DIVISION

                                                     CASE NO.

   MAHMOUD CHARR,

          Plaintiff,

   v.

   DON KING, individually,
   DON KING PRODUCTIONS, INC., a
   foreign corporation, EPIC SPORTS AND
   ENTERTAINMENT, INC., a Florida
   corporation, and JOHN DOES 1 - 5,

          Defendants.
                                                          /

                                                  COMPLAINT
         Plaintiff, Mahmoud Charr, by and through his undersigned counsel and pursuant to Fed.

  R. Civ. P. 8(a), files this action against Defendants, Don King, individually, Don King Productions,

  Inc., a foreign corporation, Epic Sports and Entertainment, Inc., a Florida corporation, and John

  Does 1 – 5, and alleges:

                                                     PARTIES

         1.       Plaintiff, Mahmoud Charr, is sui juris, a Syrian citizen and German resident.

         2.       Defendant, Don King, is sui juris, a United States citizen and Florida resident.

         3.       Defendant, Don King Productions, Inc., is a foreign corporation with its principal

  address at 501 Fairway Drive, Deerfield Beach, Florida 33441.

         4.       Defendant, Epic Sports and Entertainment, Inc., is a Florida corporation with its

  principal address at 81 Via Di Mello, Henderson, Nevada 89011.




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         5.       Defendants, John Does 1 - 5, are unkown at this time but expected to be identified

  through discovery.

                                                JURISDICTION

         6.       The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a) as the

  amount in controversy exceeds seventy-five thousand dollars ($75,000.00) exclusive of interest

  and costs, and the claims in dispute are between United States citizens and a citizen of Syria.

         7.       The Court has personal jurisdiction over Defendant, Don King (“King”), as King

  resides and regularly conducts business in the State of Florida, including in Broward County,

  where the claims against King accrued.

         8.       The Court has personal jurisdiction over Defendant, Don King Productions, Inc.

  (“DKP”), as DKP is located and regularly conducts business in the State of Florida, including in

  Broward County, where the claims against DKP accrued.

         9.       The Court has personal jurisdiction over Defendant, Epic Sports and Entertainment,

  Inc. (“Epic”), as Epic is incorporated and regularly conducts business in the State of Florida,

  including in Broward County, where the claims against Epic accrued.

         10.      The Court has personal jurisdiction over Defendants, John Does 1 – 5 (“Does 1 –

  5”), as Does 1 – 5 are believed to reside and/or regularly conduct business in the State of Florida,

  including in Broward County, where the claims against Does 1 – 5 accrued.

                                                      VENUE

         11.      Venue is proper with this Court pursuant to 28 U.S.C. § 1391 as Defendants reside,

  are located, and/or regularly conduct business in the Southern District where the events giving rise

  to this lawsuit occurred. The parties also agreed by contract that the “exclusive forum for any



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  disputes shall be the courts located in the State of Florida.” See May 26, 2019 Promoter Agreement,

  Par. 5, Exhibit A.1

                                        GENERAL ALLEGATIONS

         I.       Mahmoud Charr

         12.      Charr is a heavyweight boxer with a distinguished professional record of 32 wins,

  four losses, and one tie. In November of 2017, Charr was crowned the World Boxing Association

  (“WBA”) Regular Heavyweight Champion.

         13.      The WBA stripped Charr of his title in January of 2021 after promoter King and

  other unknown co-conspirators exerted undue influence on the WBA to prevent Charr from

  defending his title against King’s own fighter, Trevor Bryan (“Bryan”), who then replaced Charr

  as the WBA Regular Heavyweight Champion.

         14.      Charr’s current title is “Champion in Recess” which the WBA bestows on reigning

  champions who “for health, legal, or compelling reasons” are prevented from defending their title.

  See Aug. 30, 2018 Letter re: WBA Heavyweight Interim Title, Exhibit D.

         II.      Don King and DKP

         15.      King is a prominent promoter and among the most controversial figures in

  professional boxing. King owns and operates the boxing promotions company Don King

  Promotions, Inc. (“DKP”) in Deerfield Beach, Florida.




  1
   Because the signed May 26, 2019 Promoter Agreement attached as Exhibit A is difficult to read
  as a result of having been transmitted numerous times, an identical albeit more legible blank copy
  of the same Promoter Agreement is also attached for reference as Exhibit B.

                                                           3



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          16.     King has been the subject of negative publicity throughout his career2 due to his

  unscrupulous business practices and reputation for mistreating and taking advantage of unwitting

  boxers for his own personal gain.

          17.     Over the years, King has been sued countless times by former business partners and

  fighters such as Muhammad Ali, Lennox Lewis, and Mike Tyson who, like many others, accused

  King of failing to honor his contracts and even defrauding his own fighters out of millions of

  dollars.3

          III.    Charr/Bryant Bout

          18.     On March 6, 2019, the WBA issued a resolution requiring Charr to defend his title

  against King’s fighter, Bryan, who the WBA inexplicably promoted to the title of Interim

  Champion prior to arranging the bout. The WBA ordered a purse bid for the fight (“the

  Charr/Bryan Bout”) that was scheduled for May 28, 2019 (the “May 28, 2019 purse bid”).

          19.     The purse bid process requires promoters to submit a bid for the rights to a title

  fight. Where a purse bid is ordered, the reigning champion generally receives 75% of the total bid

  for the fight with the remaining 25% paid to the challenger.




  2
   King’s reputation for mistreating fighters has been the subject of books including Jack Newfield’s
  “Only in America: The Life and Crimes of Don King,” as well as negative television
  documentaries and teledramas featured on the PBS-sponsored “Frontline”, ESPN’s “Sports
  Century”, and HBO (John Herzfeld’s television film “Only in America” based on Newfield’s book
  by the same name).
  3
    The Associated Press, Tyson Reaches a Settlement with King, The New York Times (June 26,
  2004), available at https://www.nytimes.com/2004/06/26/sports/tyson-reaches-a-settlement-with-
  king.html.

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         20.      The WBA uses a standard form “Purse Bid Bout Contract” (“Bout Contract”),

  which fighters and their respective camps are required to sign and return to the WBA ahead of a

  title fight whenever a purse bid is ordered. See WBA Purse Bid Contract, Exhibit C.

         IV.      Promoter Agreement

         21.      Prior to the May 29, 2019 purse bid, DKP and Epic, another promotions company

  operating in South Florida, created a partnership. DKP and Epic then approached Charr to enter a

  promoter agreement, which was signed May 26, 2019 (“the Promoter Agreement”) in Broward

  County, Florida. See Pomoter Agreement, Exhibit A.

         22.      Under the Promoter Agreement, DKP and Epic agreed to serve as Charr’s co-

  promoters “for a minimum period of two years or as long as Charr [was] world champion of the

  WBA, WBC, IBF and/or WBO . . . plus two years after [Charr] cease[d] to be a world champion.”

  Id. at Par. 2, Exhibit A. DKP and Epic also promised “to offer Charr a minimum of two bouts

  during each year” for the term of the contract. Id.

         23.      The Promoter Agreement provided that, “while Charr [was] world champion, his

  purse for his bouts [would] be . . . not less than $750,000.00, unless otherwise agreed upon by the

  parties.” Id. at Par. 2. The contract also stated that DKP would bid “at least $1,000,000 at the May

  28, 2019 purse bid for the Charr/Bryan Bout.” Id. at Par. 4.

         24.      Pursuant to the Promoter Agreement, if DKP won the purse bid, Charr promised

  to “accept his purse share as determined by the WBA; provided, however that if such purse bid

  share [was] less than $1,000,000.00 . . . then [DKP and Epic would] supplement Charr’s purse to

  One Million Dollars.” Id. at Par. 3.

         V.       Breach of Promoter Agreement



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          25.     Within days of entering the Promoter Agreement, DKP and Epic caused the WBA

  to cancel the May 28, 2019 purse bid by failing to submit on Charr’s behalf an executed Bout

  Contract to the WBA. Prior to the cancellation, DKP and Epic never provided Charr with a Bout

  Contract to sign.

          26.     While DKP and Epic have since claimed there was an agreement with Charr to

  cancel the bid, this is false. Charr did not consent to the cancellation nor learn that DKP and Epic

  failed to submit the requisite paperwork, including the Bout Contract, until after the bid was

  cancelled.

          27.     By not providing Charr with a Bout Contract to sign, and in turn, causing the WBA

  to cancel the bid and postpone the Charr/Bryan Bout, DKP and Epic breached the Promoter

  Agreement by failing to “bid at least $1,000,000 at the May 28, 2019 purse bid for the Charr/Bryan

  Bout”. Id. at Par. 4.

          28.     DKP and Epic committed a further breach of the Promoter Agreement by then

  failing to “offer Charr a minimum of two bouts during each year of the term” of the Promoter

  Agreement. Id. at Par. 2.

          29.     As a result of DKP and Epic’s breaches, Charr sustained damages, including, but

  not limited to, $1 million in lost income that DKP and Epic were obligated to pay Charr for his

  purse in the Charr/Bryan Bout. Id. at Par. 3.

          VII.    Charr/Bryan Bout (Rescheduled)

          30.     By resolution dated February 19, 2020 (“the WBA resolution”), the WBA called

  for another purse bid to take place on March 2, 2020 for the rescheduled Charr/Bryan Bout, which

  was now set for January 29, 2021. See Feb. 19, 2020 WBA Resolution No. 202002191702, Sec.

  III. Decision, Par. A, Exhibit E.
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         31.      The resolution provided that if the parties could not agree on their own terms for a

  purse bid contract, they should “submit a signed copy of the basic standard bout contract suggested

  by the WBA” within twenty (20) days pursuant to WBA rules. Id. at Section III. Decision, Par. B,

  Exhibit E.

         32.      Charr’s counsel was informed that this language was specifically included in the

  resolution by the WBA to clarify what information needed to be submitted to the WBA ahead of

  the title fight in light of DKP and Epic’s prior defaults and delays that caused the WBA to cancel

  the initial purse bid and postpone the original Charr/Bryan Bout.

         33.      On March 2, 2020, the purse bid went forward. DKP won the rights to the

  rescheduled Charr/Bryan Bout with a bid of a $2 million. Pursuant to the WBA resolution, Charr,

  as reigning champion, was to receive 75% of the total bid amount or $1.5 million. Id. at Section

  III. Decision, Par. A, Exhibit E.

         VIII. DKP Bout Contract

         34.      Despite winning the bid, DKP once again never provided Charr with a standard

  WBA Bout Contract to sign. As a result, Charr took it upon himself to execute a standard WBA

  Bout Contract, which Charr sent to DKP to countersign and return to the WBA consistent with the

  terms of the WBA resolution. See December 19, 2020 Email, Exhibit I.

         35.      DKP received the signed WBA Bout Contract from Charr, but instead submitted a

  different unsigned “Don King Productions, Inc. - Bout Agreement” (“DKP’s Bout Contract”) to

  the WBA for approval. DKP’s Bout Contract did not conform with the standard WBA Bout

  Contract. See Don King Productions, Inc. Bout Agreement, Exhibit F; and WBA Purse Bid Bout

  Contract, Exhibit C.



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         36.      DKP’s Bout Contract was essentially an option agreement providing, in summary,

  that DKP would honor its obligations to promote the Charr/Bryan Bout only if certain

  contingencies occurred such as DKP securing a location for the fight as well as television rights.

         37.      DKP refused to sign the standard WBA Bout Contract after realizing the $2 million

  bid was excessive compared to the income the Charr/Bryan Bout was expected to generate. DKP

  knew the standard WBA Bout Contract did not allow DKP to opt out and/or extend the terms of

  the Charr/Bryan Bout purse bid whereas DKP’s Bout Contract potentially provided such outs. See

  Don King Productions, Inc. Bout Agreement, Sec. VII, Force Majeure and Other Postponements,

  Exhibit E.

         38.      Charr initially objected to signing DKP’s Bout Contract for this reason and because

  DKP’s Bout Contract incorporated terms that likely violated the Muhammad Ali Act which, under

  15 U.S.C. 6307b (b), prohibits promoters from demanding future promotional rights to a

  mandatory bout and which the DKP Bout Contract contemplated.

         IX.      Revised DKP Bout Contract

         39.      Charr’s counsel conferred with the WBA Championships Committee Chair, Carlos

  Chavez (“Chavez”), about these terms and DKP’s refusal to sign the standard WBA Bout Contract.

  It was noted that, under WBA rules, DKP should have been defaulted for refusing to use the WBA

  Bout Contract, but this did not occur.

         40.      Instead, DKP, King, and other unidentified co-conspirators (“Does 1 – 5”) exerted

  undue influence over the WBA to persuade the WBA to violate its own rules by requiring the

  parties to sign DKP’s Bout Contract as opposed to the standard WBA Bout Contract which the

  WBA resolution expressly advised the parties use under the circumstances.



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         41.      During their conference, Chavez advised Charr’s counsel that Charr should simply

  remove the objectionable portions of the DKP Bout Contract then sign and return the agreement

  to DKP to countersign and submit to the WBA. Charr did just that. The DKP Bout Contract was

  executed by Charr and transmitted via email to counsel for DKP (and King) on or about December

  19, 2020. See December 19, 2020 Email, Exhibit I.

         42.      Charr’s counsel reiterated in the same email that the objectionable terms of the DKP

  Bout Contract were removed pursuant to the WBA/Chavez’s instructions and noted that, despite

  Charr twice signing a standard WBA Bout Contract for the fight, Charr executed the revised DKP

  Bout Contract to ensure he was able to defend his title after the WBA threatened to take Charr’s

  title if he did not sign the DKP Bout Contract. Id.

         43.      Thereafter, Charr’s counsel repeatedly followed up with counsel for DKP and King

  via email and in conversations to inquire why the DKP Bout Contract had not yet been

  countersigned and returned to the WBA. DKP’s counsel replied each time that he did not know.

  In reality, DKP and King intentionally did not submit the signed DKP Bout Contract to the WBA

  to prevent the Charr/Bryan Bout from going forward and to avoid paying Charr the $1.5 million

  purse he was owed for the bout.

         X.       DKP/King Obstruction

         44.      In addition to refusing to submit the signed DKP Bout Contract pursuant to WBA

  rules, DKP and King took further steps to prevent Charr from defending his title as the reigning

  WBA Regular Heavyweight Champion and to avoid paying Charr the $1.5 million sum owed for

  the Charr/Bryan Bout.




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          45.      For example, the standard WBA Bout Contract required DKP and King to assist

   Charr, who resided in Germany at the time, with securing the appropriate Visa necessary to travel

   to the United States to participate in the Charr/Bryan Bout scheduled for January 29, 2021.

          46.      King assured Charr, who is Muslim, that King would use his alleged connections

   to the Trump Administration – which had signed the so-called “Muslim Ban” into effect that made

   it difficult for someone of Charr’s background to enter the United States – to expedite the process

   of obtaining the requisite Visa for Charr. This never occurred.

          47.       Left to his own devices after King failed to exercise his purported influence, Charr

   began the process of securing his P-1 Visa through the United States consulate in Frankfurt,

   Germany once the “Muslim ban” was lifted after President Biden took office. To obtain his P-1

   Visa, Charr was required to produce to the consulate a copy of the parties’ executed DKP Bout

   Contract as proof of his reason for traveling to the United States.

          48.      On January 26, 2021, Charr’s counsel contacted counsel for DKP and King to

   request a copy of the signed DKP Bout Contract advising that Charr could not obtain his P-1 Visa

   without a copy of the signed DKP Bout Contract, and thus, could not participate in the Charr/Bryan

   Bout unless and until DKP and King produced the contract. See January 26, 2021 Emails re: Charr

   P-1 Visa, Exhibit J.

          49.      Despite this request, which Charr’s counsel explained was made under significant

   time restraints given the impending fight date, DKP and King refused to produce a copy of the

   signed DKP Bout Contract to Charr to prevent Charr from traveling to the United States to

   participate in the Charr/Bryan Bout and receiving the $1.5 million purse he was owed by DKP and

   King for the fight.

          XI.      Charr Stripped of Title
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          50.      After Charr was unable to participate in the Charr/Bryan Bout after not obtaining

   his P-1 Visa as a result of DKP and King’s obstruction, the WBA cancelled the Charr/Bryan Bout.

   Thereafter, DKP and King, along with unknown co-conspirators (“Does 1 -5”), exerted additional

   undue influence over the WBA by convincing the WBA to strip Charr of his title as a result of

   Charr not attending the Charr/Bryan Bout.

          51.      The decision violated WBA rules. Nonetheless, with Charr no longer the reigning

   champion, DKP and King quickly arranged a new fight for the WBA Regular Heavyweight

   Champion title between DKP and King’s own fighter, Bryan, and a far less capable boxer,

   Bermane Stiverne, who was 10 years Bryan’s senior and had been knocked out by his two previous

   opponents.

          52.      DKP and King’s obvious intention was to ensure Bryan, who was at the time the

   Interim Champion and challenger for the WBA Regular Heavyweight Champion title, faced an

   easy opponent so Bryan could be crowned the new champion and, in return, DPK and King could

   maximize their profits off of the title fight as Bryan’s promoters.

          53.      On January 30, 2021, Bryan and Stiverne fought for the WBA Regular

   Heavyweight Champion title in Hollywood, Florida. As expected, Bryan soundly defeated the 42-

   year-old Stiverne by TKO in the eleventh round to become the new WBA Regular Heavyweight

   Champion.

                                        COUNT I
                        BREACH OF CONTRACT (PROMOTER AGREEMENT)

                                                Charr v. DKP and Epic

          54.      Plaintiff, Manuel Charr, adopts and incorporates into Count I the general allegations

   in Paragraphs 1 - 53 and further alleges:


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          55.      On May 26, 2019, Charr entered a legally valid and enforceable Promoter

   Agreement with DKP and Epic. See Exhibit A.

          56.      The Promoter Agreement provided that DKP and Epic would serve as Charr’s

   promoters “for a minimum period of two years” and “offer Charr a minimum of two bouts during

   each year” the agreement was in effect. Id. at Par. 2, Exhibit A.

          57.      The Promoter Agreement also provided that DKP and Epic would “bid at least

   $1,000,000 at the May 28, 2019 purse bid for the Charr/Bryan Bout.” Id. at Par. 4. Further, the

   Promoter Agreement stated that Charr’s purses as champion in all bouts would not be “less than

   $750,000 unless agreed otherwise by the parties.” Id. at Par. 2.

          58.      DKP and Epic breached the Promoter Agreement by failing to provide Charr with

   a bout contract for the Charr/Bryan Bout and, in turn, failing to submit a signed bout contract on

   Charr’s behalf to the WBA for that fight, which caused the WBA to cancel the May 28, 2019

   Charr/Bryan Bout purse bid and postpone the Charr/Bryan Bout without Charr’s knowledge or

   consent.

          59.      DKP and Epic further breached the Promoter Agreement by then failing to “bid at

   least $1,000,000 at the May 28, 2019 purse bid for the Charr/Bryan Bout” as they were obligated

   to do and also as a result of having caused the WBA to cancel the May 28, 2019 purse bid.

          60.      Additionally, DKP and Epic committed a further breach of the Promoter Agreement

   by failing to “offer Charr a minimum of two bouts during each year” the Promoter Agreement was

   in effect beginning with the postponed Charr/Bryan Bout.

          61.      As a result of DKP and Epic’s breaches, Charr sustained damages, including, but

   not limited to, $1 million in lost income that DKP and Epic were obligated to pay Charr as his



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   purse for the original Charr/Bryan Bout. Charr has also been forced to incur reasonable attorney’s

   fees and costs in seeking to recover these damages.

           WHEREFORE, Plaintiff, Mahmoud Charr, demands judgment against Defendants, Don

   King Productions, Inc. and Epic Sports and Entertainment, Inc., for actual and consequential

   damages in excess of one million dollars ($1,000,000.00), as well as attorney’s fees, costs, and

   interest, in addition to any other relief the Court deems proper.


                                     COUNT II
                      BREACH OF CONTRACT (PURSE BID AGREEMENT)

                                                   Charr v. DKP

           62.     Plaintiff, Mahmoud Charr, adopts and incorporates into Count II the general

   allegations in Paragraphs 1 through 53 and further alleges:

           63.     By resolution dated February 19, 2020 (“the WBA resolution”), the WBA ordered

   a purse bid for the rescheduled Charr/Bryan Bout to occur March 2, 2020. The resolution provided

   that, unless otherwise agreed by the parties, the standard WBA Bout Contract was to be used for

   the fight. See Feb. 19, 2020 WBA Resolution No. 202002191702, Sec. III, Decision, Par. B,

   Exhibit E.

           64.     On March 2, 2020, DKP won a $2 million purse bid for the rights to the Charr/Bryan

   Bout, which was scheduled to take place on January 29, 2021. Pursuant to the WBA resolution,

   Charr was entitled to 75% of DKP’s total bid amount or $1.5 million as the reigning champion at

   the time. Id.

           65.     DKP’s $2 million bid, submitted in accordance with the terms of the WBA

   resolution and Charr’s acceptance of those terms and the amount of DKP’s bid, created a legally

   valid and enforceable contract between DKP and Charr.

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          66.      This contract was supported by an offer (DKP’s $2 million bid), Charr’s acceptance

   of the offer (the amount and terms of DKP’s bid), and mutual consideration (DKP’s promise to

   pay $1.5 million of the $2 million bid to Charr and Charr’s promise to fight in the Charr/Bryan

   Bout for the stipulated amount).

          67.      DKP breached this contract by refusing to sign and submit the standard WBA Bout

   Contract to the WBA ahead of the rescheduled Charr/Bryan Bout as was required pursuant to the

   WBA resolution and pursuant to WBA rules.

          68.      As a result of DKP’s breach, Charr sustained damages, including, but not limited

   to, $1.5 million in lost income that DKP was obligated to pay Charr for his purse in the rescheduled

   Charr/Bryan Bout. Charr has also been forced to incur reasonable attorney’s fees and costs in

   seeking to recover these damages.

          WHEREFORE, Plaintiff, Mahmoud Charr, demands judgment against Defendant, Don

   King Productions, Inc., for actual and consequential damages in excess of one million and five

   hundred thousand dollars ($1,500,000.00), as well as attorney’s fees, court costs, and interest, in

   addition to any other relief the Court deems proper.

                                   COUNT III
                TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIP

                                             Charr v. King and DKP

          69.      Plaintiff, Mahmoud Charr, adopts and incorporates into Count III the general

   allegations in Paragraphs 1 through 53 and further alleges:

          70.      At all times material hereto, there existed a valid business relationship between

   Charr and the WBA that gave Charr the legal right to participate in WBA-sanctioned bouts




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   including, but not limited to, the Charr/Bryan Bout. King and DKP were at all times aware of this

   business relationship between the WBA and Charr.

             71.      After winning the $2 million purse bid for the rescheduled Charr/Bryan Bout and

   realizing the bid was excessive, King and DKP intentionally and unjustifiably interfered with

   Charr’s business relationship with the WBA to prevent the fight from going forward, first, by

   refusing to sign the standard WBA Bout Contract as was required for the fight to occur.

             72.      Additionally, DKP and King intentionally and unjustifiably interfered with Charr’s

   business relationship with the WBA by coercing Charr into signing the noncompliant DKP Bout

   Contract, which violated WBA rules and contained terms prohibited by the Muhammad Ali Act,

   15 U.S.C. 6307b(b).

             73.      DKP and King further intentionally and unjustifiably interfered with Charr’s

   business relationship with the WBA by refusing to submit the executed DKP Bout Contract to the

   WBA and withholding a copy of the contract from Charr, despite his requests, to prevent Charr

   from obtaining his P-1 Visa and traveling to the United States to participate in the Charr/Bryan

   Bout.

             74.      Finally, DKP and King intentionally and unjustifiably interfered with Charr’s

   business relationship with the WBA by exerting undue influence over the WBA after Charr was

   prevented from defending his title by causing the WBA to improperly strip Charr of his title as the

   reigning Regular Heavyweight Champion.

             75.      As a result of King and DKP’s unlawful interference, the WBA cancelled the

   rescheduled Charr/Bryan Bout causing Charr to sustain damages including, but not limited to, $1.5

   million in lost income that King and DKP were obligated to pay Charr for his purse in that title

   fight.
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             76.   As a further result, the WBA stripped Charr of his title and gave Charr the lesser

   designation of WBA Regular Heavyweight Champion (in recess), which has diminished Charr’s

   reputation, marketability, and overall value as a professional boxer such that the quality of fights,

   endorsement deals, and purse amounts Charr receives in the future will be significantly less.

             WHEREFORE, Plaintiff, Mahmoud Charr, demands judgment against Defendants, Don

   King and King Productions, Inc., for actual and consequential damages in excess of one million

   five hundred thousand dollars ($1,500,000.00) in addition to any other relief the Court deems

   proper.

                                                  COUNT IV
                                              CIVIL CONSPIRACY

                                     Charr v. King, DKP, and Does 1 - 5

             77.   Plaintiff, Mahmoud Charr, adopts and incorporates into Count IV the general

   allegations in Paragraphs 1 through 53 and further alleges:

             78.   At all times material hereto, King, DKP, and Does 1 - 5 entered an agreement to

   illegally exert undue influence over the WBA for the malicious purpose of persuading the WBA

   to strip Charr of his WBA Regular Heavyweight Champion title without cause and in violation of

   WBA rules.

             79.   At all times material hereto, King, DKP, and Does 1 – 5 worked in concert to

   perpetrate the illegal and overt act of exerting undue influence on the WBA for the malicious

   purpose of persuading the WBA to strip Charr of his Regular Heavyweight Champion title without

   cause and in violation of WBA rules.




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           80.     As a result of the illegal and overt acts committed by King, DKP, and Does 1 – 5

   in furtherance of this conspiracy, Charr sustained damages including, but not limited to, the loss

   of his title as the rightful WBA Regular Heavyweight Champion.

           81.     As a further result, Charr was given the lesser designation of WBA Regular

   Heavyweight Champion (in recess), which has diminished Charr’s reputation, marketability, and

   overall value as a professional boxer such that the quality of fights and purse amounts Charr

   receives in the future will be significantly less.

           WHEREFORE, Plaintiff, Mahmoud Charr, demands judgment against Defendants, Don

   King, Don King Productions, Inc., and John Does 1 – 5, for actual and consequential damages in

   excess of seventy-five thousand dollars ($75,000.00) in addition to any other relief the Court

   deems just and proper.

                                      DEMAND FOR JURY TRIAL

        Plaintiff, Mahmoud Charr, demands a trial by jury for all issues triable.

        Dated: August 10, 2021




                                                        [End]




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                                                 Respectfully submitted,

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                                                 *Pro hac vice status pending




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